 Case: 4:17-cv-02659-AGF Doc. #: 117 Filed: 10/26/20 Page: 1 of 5 PageID #: 586




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

LAUTHA V. ANDERSON, SR.,                       )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            )           Case No. 4:17-CV-2659 AGF
                                               )
CHANTAY GODERT, et al.,                        )
                                               )
       Defendants.                             )

                                  PLAINTIFF’S TRIAL BRIEF

       COMES NOW Plaintiff Lautha V. Anderson, Sr. (“Plaintiff”), by and through his attorney

James W. Schottel, Jr., and states for his Trial Brief as follows:

                                                   Facts

       Plaintiff presumes that through the Summary Judgment process the Court has become

familiar with the facts and claims in this case.

       As this Honorable Court noted in its Memorandum and Order on the Defendants’ Motion

for Summary Judgment, “Here, taking the facts in the light most favorable to Plaintiff, a reasonable

juror could find that all three Defendants were present at the scene, had actual knowledge of a

substantial risk of harm to Plaintiff by ordering Plaintiff to move to the general population, and

failed to respond reasonably to that risk, resulting in injury to Plaintiff.” (See Doc. #89, p. 6).

                                        Procedural Posture

       Plaintiff filed his pro se Amended Complaint on December 11, 2017; Doc. #6. All

Defendants answered on September 27, 2018. (Doc. #19).
 Case: 4:17-cv-02659-AGF Doc. #: 117 Filed: 10/26/20 Page: 2 of 5 PageID #: 587




        On February 28, 2020, Defendants filed a Motion for Summary Judgment on Plaintiff’s claim

of Plaintiff’s Amended Complaint; Doc. #6, that Defendants failed to protect Plaintiff from an attack

on him on November 20, 2016 after releasing Plaintiff from administrative segregation to general

population on November 18, 2016. On April 5, 2019, the undersigned was appointed through this

Court’s Plan for the Appointment of Pro Bono Counsel to represent Plaintiff in this case; Doc. #36.

                                        Plaintiff’s Evidence

        Mr. Anderson will tell what happened to him on November 18, 2016 and subsequently

thereafter.

                                       Defendant’s Evidence

        Plaintiff anticipates that Defendant Monica Rubino will admit that she was present during

Mr. Anderson’s transfer from administrative segregation to general population but she and other

corrections officers will deny Plaintiff’s remaining allegations. Defendant Taylor Preston and

Defendant Jeremy Hanson will deny they were even present during Mr. Anderson’s transfer from

administrative segregation to general population.

                               He Said – She Said: Is for the Jury

        At the time of his transfer on November 18, 2020, Plaintiff attests that he explained to all

three Defendants, Defendant Monica Rubino, Defendant Taylor Preston and Defendant Jeremy

Hanson, that there was a specific threat on his life if he went to the general population, that the

inmates making these threats belonged to a prison gang known as the Family Value gang, that

those threats resulted from the gang’s belief that Plaintiff was a “snitch,” and that letting Plaintiff

out of administrative segregation without any punishment or questioning and after spending only

30 days in the unit, despite the two major charges of conspiracy to introduce narcotics into the

prison, would only reinforce the gang’s belief that Plaintiff was a snitch. Plaintiff attests that all


                                                  2
 Case: 4:17-cv-02659-AGF Doc. #: 117 Filed: 10/26/20 Page: 3 of 5 PageID #: 588




three Defendants ignored his pleas, and that Rubino told him that if he did not leave administrative

segregation, he would be given a conduct violation and would be physically removed.

       Within 48 hours after his transfer to the general population, while Plaintiff was on his way

to the dining room, Plaintiff was approached by several inmates associated with the Family Value

gang. One such inmate accused Plaintiff of being a “snitch” in connection with his narcotic charges

and his transfer out of administrative segregation. (See Doc. #6, pp. 7-8). Plaintiff responded that

he did not know anything and proceeded to walk toward the dining room. However, he soon felt a

stinging sensation in his neck and realized that another inmate had sliced the side of his neck and

ran away.

       Following the attack, Plaintiff was in immediate pain and his neck began to bleed.

Plaintiff ran back to his cell, where he remained locked all night. His neck continued to

bleed during this time, but the bleeding was controlled. The next morning, Plaintiff stopped

a corrections officer, showed him his neck, told him he needed medical attention and the

corrections officer took Plaintiff to get medical treatment. Plaintiff thereafter requested

protective custody and was placed into such custody on November 21, 2016. This litigation

ensued.

A.     Testimony of a Law Enforcement Officer

       As this case poses Plaintiff against corrections officers, it is extremely important that the

jurors not give more weight to Defendant Monica Rubino, Defendant Taylor Preston and

Defendant Jeremy Hanson, or other corrections officer’s (Plaintiff believes offer corrections

officers may testify in support of Defendant Monica Rubino), testimony just because they are law

enforcement officers. Plaintiff proposes the following instruction:




                                                 3
 Case: 4:17-cv-02659-AGF Doc. #: 117 Filed: 10/26/20 Page: 4 of 5 PageID #: 589




        “The testimony of a law enforcement officer should be considered by you just as
        any other evidence in this case, and in evaluating his or her credibility you should
        use the same guidelines which you apply to the testimony of any witness. You
        should not give either greater or lesser credence to the testimony of a witness
        merely because he or she is a law enforcement officer.”

See Avery, Rudovsky, Blum, Police Misconduct, (2014-2015) § 12.8, mod.; Roberts v. Hollocher, 664

F.2d 200 (8th Cir. 1981); Butler v. City of Camden, City Hall, 352 F.3d 811(3d Cir. 2003); Darbin v.

Nourse, 664 F.2d 1109 (9th Cir. 1981); Bush v. U.S., 375 F.2D 602, 605 (D.C. Cir. 1967). (See

Plaintiff’s Exhibit 1 attached hereto)

        Lastly, Plaintiff proposes the Eighth Amendment as a jury instruction so that the jurors will

understand that the case deals with constitutional issues:

        “Excessive bail shall not be required, nor excessive fines imposed, nor cruel and
        unusual punishments inflicted.”

See U.S. Const. amend. VIII. (See Plaintiff’s Exhibit 2 attached hereto)

                                              Respectfully submitted,

                                              SCHOTTEL & ASSOCIATES, P.C.

                                              BY: s/James W. Schottel, Jr.
                                                     James W. Schottel, Jr. #51285MO
                                                     906 Olive St., PH
                                                     St. Louis, MO 63101
                                                     (314) 421-0350
                                                     (314) 421-4060 facsimile
                                                     jwsj@schotteljustice.com

                                                      Attorney for Plaintiff
                                                      Lautha V. Anderson, Sr.




                                                 4
 Case: 4:17-cv-02659-AGF Doc. #: 117 Filed: 10/26/20 Page: 5 of 5 PageID #: 590




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

                                              Michael Pritchett
                                              Michael.Pritchett@ago.mo.gov

                                              James W. LeCompte III
                                              Wil.LeCompte@ago.mo.gov

                                              Attorneys for Defendants
                                              Monica Rubino
                                              Taylor Preston
                                              Jeremy Hanson


                                              s/James W. Schottel, Jr.




                                                 5
